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11

12                          IN THE UNITED STATES DISTRICT COURT
13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                                   SAN FRANCISCO DIVISION
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17   STATE OF CALIFORNIA and GAVIN                   Case No. 3:25-cv-03372-JSC
     NEWSOM, in his official capacity as
18   Governor of California,
                                                     [PROPOSED] ORDER GRANTING
19                                       Plaintiffs, PLAINTIFFS’ MOTION FOR
                                                     PRELIMINARY INJUNCTION
20                 v.

21
     DONALD J. TRUMP, in his official capacity
22   as President of the United States, et al.,

23                                     Defendants.

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 1         On May 13, 2025, Plaintiffs the State of California and Governor Gavin Newsom filed a
 2   Motion for Preliminary Injunction (“Motion”). The Court held a hearing on the Motion. The
 3   Court has considered the Motion and all documents filed therewith, Defendants’ response and all
 4   documents filed therewith, all of the papers on file in this action, the evidence and arguments
 5   presented at the hearing, and all other matters properly before the Court. The Court hereby
 6   GRANTS Plaintiffs’ Motion.
 7         The Court finds that each of the necessary elements for issuing a preliminary injunction is
 8   met. First, the Court finds that Plaintiffs are likely to prevail on the merits of their claims that the
 9   International Emergency Economic Powers Act (“IEEPA”), does not authorize the President to
10   impose tariffs and that President Trump’s executive orders purporting to impose tariffs pursuant
11   to IEEPA are ultra vires and violate constitutional separation of powers. The Court further finds
12   that Plaintiffs are likely to suffer irreparable harm in the absence of an injunction. The Court
13   further finds that the balance of equities and the public interest tip sharply in Plaintiffs’ favor.
14         Now, therefore, it is hereby ORDERED that Defendants U.S. Department of Homeland
15   Security, Secretary of Homeland Security Kristi Noem, U.S. Customs and Border Protection, and
16   CPB Acting Director Pete R. Flores (“Agency Defendants”), and each of their officers,
17   employees, agents, servants, attorneys, and others acting in concert with them or subject to their
18   control or direction, are hereby RESTRAINED AND ENJOINED from taking any action,
19   whether direct or indirect, to implement or enforce any Executive Order or any other order,
20   proclamation, or directive that purports to impose tariffs or directs the imposition of tariffs
21   pursuant to IEEPA. Agency Defendants, and each of their officers, employees, agents, servants,
22   attorneys, and others acting in concert with them or subject to their control or direction, are
23   //
24   //
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                                                          1
                                       [Proposed] Order Granting Pls.’ Mot. for Prelim. Inj. (No. 3:25-cv-03372-JSC)
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 1   further hereby RESTRAINED AND ENJOINED from taking any action, whether direct or
 2   indirect, to collect any such tariffs.
 3         IT IS SO ORDERED.
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 5   Dated:                       , 2025
 6
                                                              THE HON. JACQUELINE SCOTT CORLEY
 7                                                            United States District Judge
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                                       [Proposed] Order Granting Pls.’ Mot. for Prelim. Inj. (No. 3:25-cv-03372-JSC)
